Case 2:19-cv-02220-VAP-KS Document 1-1 Filed 03/25/19 Page 1 of 43 Page ID #:9




                 EXHIBIT A
                    TO
  DEFENDANT BMW OF NORTH AMERICA, LLC’S
     NOTICE OF REMOVAL OF CIVIL ACTION
Case 2:19-cv-02220-VAP-KS Document 1-1 Filed 03/25/19 Page 2 of 43 Page ID #:10

                                                                           Service of Process
                                                                           Transmittal
                                                                           09/28/2018
                                                                           CT Log Number 534141561
    TO:     Howard Harris
            BMW of North America, LLC
            300 Chestnut Ridge Road
            Woodcliff Lake, NJ 07677-7731

    RE:     Process Served in California

    FOR:    BMW of North America, LLC  (Domestic State: DE)




    ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

    TITLE OF ACTION:                 JUNE AGAIN, INC., etc., et al., Pltfs. vs. BMW OF NORTH AMERICA, LLC, etc., et al.,
                                     Dfts.
    DOCUMENT(S) SERVED:              Summons, Cover Sheet(s), Instruction (s), Complaint, Exhibit(s), Stipulation(s),
                                     Attachment(s)
    COURT/AGENCY:                    Los Angeles County - Superior Court - Hill Street, CA
                                     Case # BC720854
    NATURE OF ACTION:                Product Liability Litigation - Breach of Warranty - Vehicle identification number
                                     WBA6F1C59GGT83215
    ON WHOM PROCESS WAS SERVED:      C T Corporation System, Los Angeles, CA
    DATE AND HOUR OF SERVICE:        By Process Server on 09/28/2018 at 14:42
    JURISDICTION SERVED :            California
    APPEARANCE OR ANSWER DUE:        Within 30 days after service of this summons (Document(s) may contain additional
                                     answer dates)
    ATTORNEY(S) / SENDER(S):         Norman F. Taylor
                                     Norman Taylor & Associates
                                     425 West Broadway
                                     Suite 220
                                     Glendale, CA 91204
                                     818 244 3905
    ACTION ITEMS:                    CT has retained the current log, Retain Date: 09/29/2018, Expected Purge Date:
                                     10/04/2018

                                     Image SOP
                                     Email Notification,  Barry Chen  Barry.chen@bmwnaext.com

                                     Email Notification,  Diane Carbone  Diane.Carbone@bmwna.com

                                     Email Notification,  Gino Palacios  Gino.Palacios@bmwnaext.com

                                     Email Notification,  WR Litigation  WR_LITIGATION@bmwna.com

    SIGNED:                          C T Corporation System
    ADDRESS:                         818 West Seventh Street




                                                                           Page 1 of  2 / AA
                                                                           Information displayed on this transmittal is for CT
                                                                           Corporation's record keeping purposes only and is provided to
                                                                           the recipient for quick reference. This information does not
                                                                           constitute a legal opinion as to the nature of action, the
                                                                           amount of damages, the answer date, or any information
                                                                           contained in the documents themselves. Recipient is
                                                                           responsible for interpreting said documents and for taking
                                                                           appropriate action. Signatures on certified mail receipts
                                                                           confirm receipt of package only, not contents.
Case 2:19-cv-02220-VAP-KS Document 1-1 Filed 03/25/19 Page 3 of 43 Page ID #:11

                                                             Service of Process
                                                             Transmittal
                                                             09/28/2018
                                                             CT Log Number 534141561
    TO:    Howard Harris
           BMW of North America, LLC
           300 Chestnut Ridge Road
           Woodcliff Lake, NJ 07677-7731

    RE:    Process Served in California

    FOR:   BMW of North America, LLC  (Domestic State: DE)




                                    Los Angeles, CA 90017
    TELEPHONE:                      213-337-4615




                                                             Page 2 of  2 / AA
                                                             Information displayed on this transmittal is for CT
                                                             Corporation's record keeping purposes only and is provided to
                                                             the recipient for quick reference. This information does not
                                                             constitute a legal opinion as to the nature of action, the
                                                             amount of damages, the answer date, or any information
                                                             contained in the documents themselves. Recipient is
                                                             responsible for interpreting said documents and for taking
                                                             appropriate action. Signatures on certified mail receipts
                                                             confirm receipt of package only, not contents.
Case 2:19-cv-02220-VAP-KS Document 1-1 Filed 03/25/19 Page 4 of 43 Page ID #:12
                                                                 Wolters Kluwer



  Please note that the documents attached
 are of poor quality and the enclosed scan is
 of the best quality attainable. If you require
 improved quality documents, please
 contact the serving party.
                                                                      2 ID #:13
  Case 2:19-cv-02220-VAP-KS Document 1-1 Filed 03/25/19 Page 5 of 43 Page
                                                                                                                                                               vc
                                                                                                                       "IIGJNA              b,'bWorn.v
                                             SUMMONS                                                            S       lo     0                        LA CORTE)

                                    (C/TA C/ON JUDICIAL)                                                                                4rv, I
NOTICE TO DEFENDANT:
(A VISO AL. DEMANDADO):
                                                                                                                        SEP 062018
 BMW OF NORTH AMERICA, LLC, a limited liability company; BEVERL'rhe,r,                                              Carte,
 HILLS BMW, a business entity, form unknown; and DOES 1 through 50,                                                           EecuiEve OIIICe?/clerk
 inclusive.
                                                                                                                     riefta    ;;      00ptoty
                                                                                                                                   ason,
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANOANTE):
JUNE AGAIN, INC. d/b/a LOOKING GLASS FILMS, a corporation and JUNE
GUTERMAN, an individual and authorized signer.

                                                                                                                                             30 days. Read the-information
 NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within
 below.
                                                                                                                                           at this court and have a copy
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response
          on the plalntiff Metter or ph  on  e call will not protect  you.  Youtwritien  response    must   be In proper   legal Iorn'i If you Went the court to hear your
 served
                                                                                                                                                  at the California Courts
 case There may be a court form that you can use for your response You can find these court forms and more Information
                                  caurtinfo    ca gov/selthelp)    your  county  law  library, or the  courthouse   nearest    you  If  you  cannot   pay the filIng fee ask
 Online Self Help Center (www                                                                                                                           money, and property
                                   form   II you  do not  tile your  response   on time   you  may  lose  the case  by  default   and    your,  wages
 the-court clex1 fora fee waiver
 maybe taken without further warning from the court.
                                                                                                                                               may want to call an attorney
     There are other legal requirements. You may want to call an attorney right away, if you do not know an attorney, you
                                                                                                                                                 program You can locate
 referral sennce If you cannot afford an attorney you maybe eligible for free legal services from a nonprofit legal services
                                                                                                                              Courts Online Self Help Center
  these nonprofit groups at the California Legal Services Web site (www lawhelpcallforn(a a'g) the California
                                                                                                                   The court has a statutory lien for Waived fees and
 (www courtinfo ca çjov/selfhelp) or by contacting your local court or county bar association NOTE!
                                                                                                                                         the court will dismiss the case.
 costs on any settlement or arbititioñ award of $10000 or more in a civil case. The court's lien must be paid before
                   densndodo.     SI  no  rosponde    denim    do 30  dIes, ía cone  puede   decidir  en su  contra sin  escuchar    su versión. Lea la informaciOn a
 jA V/SO! La   hen
 continua dOn.
                                                                                                                                            respuesta par escrito en esta
     none 30DIAS OECALENDARIO después do queIe entreguen oslo cite dOn y papeles Iegales pare presenter una
                                                                                                                               Su respuesta par escrito tiene que estor
 corte.yhacer que ,se enfregueuno cop/a 01 demendante. Una carte a une Ilemade teleffinca no to prOtege,,,
                                                                                                                                                 user pare su respuesta.
 on Ibrinato iegalcotrecto sidesea quo procesen .su caso en Jo carte. Es posible quo haya un form u/aria que usted pueda                     ww.sucorte.ca.gov), an /a.
 Puede encontmar eslos formularios dO lecorle y hiss jnforrnaciOn en ci Centro de Ayudb de las Cortes do California
                                                                                                                    do prosentaciOn pida alseeretario de (a carte
 biblioleca do Ieye.s de su condodo o en to carte que Ic quede más ccrca. Si no puede pager Is cuoto
                                                                                                                                           por frcuirrpknien to y la cotta to
 quo Jo old urr formulano de exenctOn do pago de motes. SI no preson to su respuesta a tiernpo puede ponder el caso
 podrO qullor su sue/do, dincro y bici,es sin mds odvertenclo.
                                                                                                                           a un eboqado, plied Ile mar a tin servicio d
    Hay otros requisitos legates. Es rOcomendoble que home a un abogado Inmedietamente. Si no conoce              pare  obtener   servicios legales gratuitos de un
 remisiOn a ofoados,    SI no puede    pager   a un  abogado,     as posible  quo  dump/a    con  /os requisitos
                                  sin fines   do bucro   Puede    encontrar  os/os  rrupos  sin fines  de Iucro  en ci .sitio web   do California Legal Services
 programo do set-vidas legates
                                                                                                                               idtldose en contacto can /a carte 001
 (9ww,lawhelpcalifornla.org), en el Contra de Ayuda do las Caries do California, (www.sucorte.ca.gov) a pan
                                                                                                                                       impOner up, gre Vernon àobre
 co!egio de ebo/odos locales. At//SO: Parley, ID carte liene derecho a reclamar las cuola.s y los cost as o.xOntaspor
                                                                                                                                          Casa de derecho civil, l7ene quo
 cub/quier rOcuperacidn do 510,0006 más do valor recibido med/ante un ocuerdo o una concesibn do arbitrajo en uii'
 pager el gravamen do Jo cone antes do quo ía carte pueda desechar el caso.
                                                                                                                     CASE NUMBER
The name and address of the court is:
(El nombre y direcciôn de ha cone es):
                                                                                                                     (NrmndeICern,)
                                                                                                                                         BC 7 2 0 8.5 4
 Los Angeles Superior Court Central  District
                                        -


111 North Hill Street, Los Angeles, CA 90012
The name address, and telephone number of plaintiffs attorney, or plaintiff Without an attorney, is:
(El nombre, la direcci6n y e1nn,ero do leléfono del abogado del dernendante, 0 del demandanle qua nOiie.ne
                                                                                                           ebogodo, es).
Norman Taylor and Associates, 425 West Broadway, Suite 220, Glendale, CA 91204;                                                          -39~0 5
                     SEP 062018                                                                                                                                        Deputy
DATE:                                                                Clerk, by               G10 a
                                                                                                                                                                     ,



                                                                     (Secretario                                                                                      (Adjunto)
Fecha)
(Far proof of service of this summons, use Proof of Service of Summons (form POS-010))
(Para prueba do entrega do esta citation use oh formularlo Proof of Service of Summons,(POS-010))
                                  NOTICE TO THE PERSON SERVED: You are served
 (SEAL]
                                  1.      as an individual defendant.
                                  2       as the person sued under the fictitious name of (specify):

                                                                                                                                                                LL C_
                                         3   LIf     on behalf of (specify):

                                              under:   L11      CCP 416.10 (corporation)                                        CCP 416.60 (minor)
                                                         J      CCP 416.20 (defunct corporation)                                CCP 41670 (conservatee)
                                                              -'CCP 416.40 (association or partnership)                         CCP 416.90 (authorized person)

                                                   1IiJ other (specify):
                                         4   E1I1 by personal delivery on (date):                                                                                        Page 1 oil

                                                                                                                                             Code 01 C,a,i Procedure 4§ 412 20.465
 Form Adopted for Manaalory Use                                                SUMMONS                                                                         w,v.v cUatOflf0 C'O 90
   .A,d,C3i Council of Cohiorruo
   SUM 00 lRev ..Uy 1 20091                                                                                                                               Ojfler,con I.egoiN.1t.]
                                                                                                                                                               FormsV/c,Ai*s', corn
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                                                                                                                    i
   Case 2:19-cv-02220-VAP-KS Document 1-1 Filed 03/25/19 Page 6 of 43 Page ID #:14

                                                                                                                             FOR COURT USE ONLY
 ATTORNEY OR-PARTY THOUT ATTO$l'IEY (Name. Stale Bar number, and address);
   NormanF.Tnylbr, Esq. .SBN 127325), John K. Ciccarelb, Esq. (SBN 139169)
   Norman Tayior.& Associates
   425 West Broadway, Suite 220                                                                                   ORiGINAL FILED
                                                                                                                                            COPY
   Glendale, CA 91204                                                                                        Superior
                      (818) 244-3905             FAX NO.: (818) 244-6052                                              Court of QaIIIOIa
                                                                                                                                 l
          TELEPHONE NO.:                                                                                       COilnty,fI fl .A
 ATTORNEY FOR (Name): Plaintiffs, June Again, Inc., et aL
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES                                                                    SEP 0.62QI8'
    STREET ADDRESS: 111 North Hill Street
    MAILING ADDRESS: 111 North Hill Street
                                                                                                             ri Rt:Cr,jUjy. UiljgurCJ,
   CITY AND ZIP CODE: Los Angeles, CA 90012

       BRANCH NAME: Central Distflct
                                                                                                                Otàrtet RÔifl Deputy
  CASE NAME:
  June Again, Inc., et al. vs. BMW of North America, LLC, et al.
                                                                                                               A5ENR7
    CIVIL CASE COVER SHEET                   Complex Case Designation                                                            2 () 85 4
          Unlimited            ,El Limited                          Counter           ij Joinder
          (Amount                  (Amount                                                                   JUDGE:
          demanded                 demanded is              Filed with first appearance by defendant
          exceeds $25,000)         $25,000 or less)             (Cal. Rules of Court, rule 3.402)              DEFT:

                                       Items 1-6 below must be completed (see instructions on
    Check one box below for the case type that best describes this case:
                                                       Contract                                       Provisionally Complex Civil Litigation
    Auto Tort
                                                                                                      (Cal. Rules of Court, rules 3.400-3.403)
    E1    Auto (22)                                       LZlBreach of contract/warranty (06)
          Uninsured motorist (46)                         El Rule 3.740 collections (09)             El Antitrust/Trade regulation (03)
    Other PI/PDIWD (Personal Injury/Property              LIIOther collections (09)                  El.Construction defect (10)
    Damage/Wrongful Death) Tort                           El Insurance coverage (18)                 El Mass tort (40)
    El    Asbestos (04)                                   LIIOther contract (37)                     El Securities litigation (28)
    El    Product liability (24)                      ,Real.Property                                 El Environmental/Toxic tort (30)
    El    Medical malpractice (45)                        El Eminent domain/Inverse                  El. lnsuranc.e:coverage   claims arising from the
                                                                                                         above listed pi'ovlslonally complex case
                                                             condemnation (14)
    El    Other PI/PDIWD (23)                                                                               types (41)
    Non-Pl/PDTWD (Other) Tort                             El Wrongful  eviction (33)
                                                          El Other real property (26)                 Enforcement of Judgment
   El     Business tort/unfair business practice (07)
                                                                                                     El Enforcement of judgment (20)
   'El    Civil rights (08)                           Unlawful Detainer
   El     Defamation (13)                                 El Commercial (31)                          Miscellaneous Civil Complaint
   El     Fraud (16)                                      El Residential (32)                        El RICO (27)
   El   Intellectual property (19)                        [] Drugs (38)                              El Other complaint (not specified above) (42)
    r—i
    LJ       Profession           ....(ZD)
                        al negligence
              .................       ..
                                                          ,IUUICldi I'S.VIvW                          Miscellaneous Civil Petition
    El   Other non-Pl/PD/\ND tort (35)                    El Asset forfeiture (05)                El Partnership and corporate governance (21)
    Employment                                            El. Petition re: arbitration award (11) El Other petition (not specified above) (43)
    El   Wrongful termination (36)                        El Writ of mandate (02)
             Other                                        Other judicial review
2. This case U        is     LUj is not     complex  under  rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring exceptional judicial management:
          El Large number of separately represented parties            d.           El
                                                                                Large number of witnesses

          El Extensive motion practice raising difficult or novel      e,           El
                                                                                Coordination  with related actions pending in one or more courts
             issues that will be time-consuming to resolve                      in other counties, states, or countries, or in a federal court
     C.   El     Substantial amount of documentary evidence                    f.   El Substantial postjudgment judicial supervision
3. Remedies sought (check  all that apply).' a.El monetary b. El nonmonetary; declaratory or injunctive relief C. =punitive
4. Number of causes of action (specify): 1) Breach of Express Warranty; 2) Breach of Implied Warranty
5, This case          El
                      is        is not   a class action suit.
6. If there are any known related cases, file and serve a notice of related case.               (You may use
Date: 08/28/18
Norman F. Taylor, E

  • Plaintiff must file this cover sheet with the first paper filed in the action or proceedinëce,t s,fl claims cases or cases filed
     under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Cóei1 rule 3.220.) Failure to file may result
     in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
                                                                                                                                     all
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on
     other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                   Jaoe 1 of 2
                                                                                                                Cal. Rules of Court. itdes2.30. 3220. 3.400-3.403. 3.740:
Form Adopted for Mandatory Use                            CIVIL CASE COVER SHEET
  Judicial Council of California
   CM.010 [Ren July 1, 20071
                                                                              C
                                                                                                                  9    Cal Slar,dards of Judicial Administration, old 3 10

                                                                                                                  I I ØIr
                                                                                                                                                    wmn Court info ca gou


                                                                                                           j
  Case 2:19-cv-02220-VAP-KS Document 1-1 Filed 03/25/19 Page 7 of 43 Page ID #:15


                                                                                                                                     CM-010
                                   INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which propertyrvics, or money was acquired on credit .A collections case does not include an action seeking the followIng: (1) tort
damages, (2 punitive damages, (3) recovery of real property, (4) recovery of personal. property, or (5)                •   prejudgn.ent:writ of
attach'menj. The tdntifiOatih1Of-a case as,a. rule .3.740. collections case on this form means that it will be.exempt:from the gen6rol
time-for-service requirements and case management rules, unless a defendant files a responsive pIeding. Artile..3J40 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is 'complex. )fa, plaintiff believes the case is complex 'under rule 3.400 of the California Ruts of. Court, this must be indicated by
completing the appropriate boxesin items I and 2. If a plaintiff designates a case as complex, the co           sheO must b.e,served'with. the
complaintorr all parties to the: action, A defendant may file and serve no later than, the time of its. first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no de,sjgnation'a designation that'
the case is complex.                                        CASE TYPES AND EXAMPLES
                                                Contract                                           Provisionally Complex Civil Litigation (Cal.
Auto Tort
                                                    Breach of ContractlWarranty (06)               Rules of Court Rules 3.400-3.403)
    Auto (22)-Personal Injury/Property
                                                        Breach of Rental/Lease                          Antitrust/Trade Regulatlon.(3
        bamageiwiorigful Death                                                                          Construction Defect (10)
                                                            Contract (not unlawful defamer
    Uninsured Motorist(46) (if the ,                                                                    CtaiiTtS Involving 'Mass Tort (40)
        case !nvolves'an uninsured                          ,
                                                               or wrongful eviction)
                                                       Contract/Warranty Breach-Seller                  SecUrit1e LitIgation (28)
        motth1st!èIm .wi,Je'ct to                                                                       EnvIronmental/Toxic Tort (30)
        arbitration, check Ih'ls item                      Plaintiff (not fraud or negligence)
                                                        Negligent Breach of Contract/                   insurance Coverage Claims
        instead of Auto)                                                                                    (arising from provisionally complex
 Other PI/PO/WO (Personal lnjuryi                       ,    Warranty
                                                        Other Breach of Contract/Warranty                   case type listed above) (4 1)
'Property Damage/Wrongful, Death)                                                                   Enforcement of Judgment
 Tort     '                                         Collections (e.g., money owed, open
                                                        book accounts) (09)            '               Enforcement of Judgment (20)
      Asbestos (04)                                                                                        Abstract of Judgment (Out of
                                                        Collection Case.-Seller Plaintiff
         'Asbestos Property larnage                                                                            County)
          Asbestos Personal rijuiy/'                    Other Promissory Note/Collections
                                                                                                           Confession of Judgment (non-
               Wrongful Death                       Insu rance Coverage (not provisionally
                                                    Insurance                                                   domestic relations)
      Product Liability (not asbèslo&or                 complex) (18)                                       Sister State Judgment
          toxlO/erivironrnental) (24)                    Auto Subrogation                                   Administrative Agency Award
     Medical Malpractice (45)                                                                                  (not unpaid taxes)
        Medical Malpractice-                           Other Coverage
                                                   Other Contract (37)                                      Petition/Certification of Entry of
             physicians & SurgeOns.                                                                            Judgment on Unpaid Taxes
        Other Professional Health Care                 Contractual Fraud
                                                       Other Contract Dispute                               Other Enforcement of Judgment
             Malpractice                                                                                        Case
     OthOrPI/PDIWD (23)                         Real Property
                                                    Eminent Domain/Inverse                          Miscellaneous Civil Complaint
        PemlsCs Liability (e.g slip                                                                     RICO (27)
             and fall)                                   Condemnation (14)
                                                    Wrongful Eviction (33)                              Other Complaint (not specified
        Intentional Bodily lnjury/PD/\ND                                                                   above) (42)
             (e.g., assault, vandalism)             Other Real Property (e.g.. quiet title) (26)           Declaratory Relief Only
        Intentional Infliction of                        Writ of Possession of Real Property               Injunctive Relief Only (non-
             Emotional Distress                          Mortgage Foreclosure                                   harassment)
        Negligent Infliction of                          Quiet Title                                       Mechanics Lien
             EmotFonat Distfess                          Other Real Property (not eminent                  Other Commercial Complaint
        Other PI1PDAND                                   domain, landlord/tenant, or                            Case (non-tog-     -complex)
                                                                                                                                    complex)
Non-PI/PD/WD (Othor) Tort                                foreclosure)                                      Other Civil Complaint
   Business Tort/Unfair Business                Unlawful Detainer                                              (non-tort/non-complex)
        Practice (07)                               Commercial (31)                                 Miscellaneous Civil Petition
   Civil Rights (e.g,, discrimination,              Residential (32)                                    Partnership and Corporate
       false arrest) (not civil                     Drugs (38) (ii the case involves illegal                Governance (21)
        harassment) (08)                                 drugs, check this item; otherwise,             Other Petition (not specified
   Defamation (e.g., slander, libel)                     report as Commercial or Residential)               abOve) (43)
         (13)                                   Judicial Review                                             Civil Harassment
   Fraud (16)                                       Asset Forfeiture (05)                                   Workplace Violence
   Intellectual Property (19)     ,                 Petition Re: Arbitration Award (11)                     Elder/Dependent Adult
   Professional Negligence (25)                     Writ of Mandate (02)                                         Abuse
       Legal Malpractice                                 Writ-Administrative Mandamus                       Election Contest
       Other Professional Malpractice                   Writ-Mandamus on Limited Court                      Petition for Name Change
           (not medical or' legal)                           Case Matter                                    Petition for Relief From Late
    Other Non-Pl/PD/VVD Tort (35)                       Writ-Other Limited Court Case                            Claim
Employment                                                   Reviev,                                        Other Civil Petition
   Wrongful Termination (36)                        Other Judicial Review (39)
   Other Employment (15)                                 Review of Health Officer Order
                                                         Notice of Appeal-Labor
                                                            Commissioner Appeals
                                                                                                                                            Paggs2ol2
CM.010lRe' July 1, 20071
                                                    CIVIL CASE COVER SHEET
    Case 2:19-cv-02220-VAP-KS Document 1-1 Filed 03/25/19 Page 8 of 43 Page ID #:16



SHORT TITLE:
                                                                                                  CASE NUMBER                  7                5,4
               June Again, Inc., et at. vs. BMW of North America, LLC, et al.


                             CIVIL CASE COVER SHEET ADDENDUM AND
                                     STATEMENT OF LOCATION
               (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                                                                                                                                                   Court.
         This form is required pursuant to Local Rule 2.0 in all new civil case filings in the Los Angeles Superior

 Item I. Check the types of hearing and fill in the estimated length of hearing expected for this case:
                                                        YES LIMITED CASE? DYES                TIME ESTIMATED FOR TRIAL54                 D HoURS/IZI DAYS
    JURY TRIAL? V1YES CLASS ACTION?

 Item II. Indicate the correct district and courthouse location (4 steps              -   If you checked "Limited Case", skip to Item Ill, Pg. 4):

                                                                                                                   for your
    Step 1: After first completing the Civil Case Cover Sheet form, find the main Civil Case Cover Sheet heading
                                                                                             case type you selected.
    case in the left margin below, and, to the right in Column A, the Civil Case Cover Sheet


                                                                                                                                         of this case.
    Step 2: Check one Superior Court type of action in Column B below which best describes the nature

                                                                                                                have
    Step 3: In Column C, circle the reason for the court location choice that applies to the type of action you
    checked. For any exception to the court location, see Local Rule 2.0.

                           Applicable Reasons for Choosing Courthouse Location (see Column C below)
                                                                                           6. Location.of property .4r.pmanenttygarage.d•vehlcle.
     1. .GlassactiortsmusLbe.flte&iri theStanley Mosk Courthouse, central district.        7 Location where petitioner restds
     2 May be filed ri central (other county or no bodily injury/property damage)          8 Location Wherein defendant/respondent functions wholly
     3 Location where cause of action arose                                                9 Location where one or more of the, parties reside
     4 Location where bodily injury death or damage occurred                              10 Location of Labor Commissioner ffice
     5 Location where performance required or defendant resides



    Step 4: Fill in the information requested on page 4 in Item Ill; complete Item IV. Sign the declaration.


                              A                                                        B                                                             C
                                                                                 Type of Action                                           Applicable Reasons
                   Civil Case Cover Sheet                                                                                                  See Step 3 Above
                         Category No                                            (Check only one)

                                               0 A7100 Motor Vehicle Personal Injury/Properly Damage/Wrongful Death                       1.2., 4.
                           Auto (22)                                     -




                                               0 A71 10 Personal Injury/Property Damage/Wrongful Death              Uninsured Motorist    1,2., 4
                   Uninsured Motorist (46)                                                                      -




                                               U A6070 Asbestos Property Damage                                                           2.
                        Asbestos (04)                                                                                                     2.
                                               O A7221 Asbestos Personal Injury/Wrongful Death
                                                                     -
   >,

     -   I-
                                               0 A7260 Product Liability (not asbestos or toxic/environmental)                            1.2., 3.. 4., 8.
                     Product Liability (24)

                                               O A7210 Medical Malpractice. Physicians & Surgeons                                         1., 4.
         75        Medical Malpractice (45)
                                               O A7240 Other Professional Health Care Malpractice                                         1.. 4.


                                               o A7250 Premises Liability (e.g., slip and fall)                                           l.. 4.
   G. Q)                     Other
                                               U A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,                    1 4
    3E                 Personal Injury
                                                       assault, vandalism, etc.)
                      Property Damage                                                                                                     1_3.
                       Wrongful Death          0 A7270 Intentional Infliction of Emotional Distress
                            (23)                                                                                                          1 4
                                               O A7220 Other Personal Injury/Property Damage/Wrongful Death



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                                                                                                         cOpy
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SHORT TITLE:                                                                                      CASE NUMBER
               June Again, Inc., et al. vs. BMW of North America, LLC, et al.


                              A                                                           B                                                            C
                    Civil Ca Cover Sheet                                           Type otActlo!:i.                              :'      Applicable Reasons   -


                          Category No                                             (Check only one) ,,,                                    See Step 3 Above

                      Business Tort (07)          0 A6029 Other Commercial/Business Tort (not fraud/breach of contract)                  1-1
   >,t
   a) I—
                       Civil Rights (08)          0 A6005 Civil Rights/Discrimination                                                    1, 2_3.
   CL

                       Defamation (13)            0 A6010 Defamation (slander/libel)                                                     L 2.. 3.

          cn
   -                      Fraud (16)              0 A6013 Fraud (no contract)                                                            1., 2., 3.

   0
   Wo
                                                  o   A6017 Legal Malpractice                                                            1,, 2.. 3.
                 Professional Negligence (25)
                                                  o   A6050 Other Professional Malpractice (not medical or legal)                        1.2., 3
   oca


                          Other (35)              0 A6025 Other Non-Personal Injury/Property Damage tort                                 2,3,


                  Wrongful Termination (36)       0 A6037 Wrongful Termination                                                           1,, 2., 3,
     a)
     E
     0
     0.
                                                  o   A6024 Other Employment Complaint Case                                              1., 2., 3.
                   Other Employment (15)
    E                                             o   A6109 Labor Commissioner Appeals                                                   10.
    uJ

                                                  o   A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful           2 5
                                                            eviction)
                 Breach of Contra ct/ Warranty                                                                                           2.. .5
                                                  0 A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                                                                                                                                                  5.
                        (not insurance)           0 A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                              2., 5.
                                                  O A6028 Other Breach of Contract/Warranty (not fraud or negligence)

     L)
                                                  o   A6002 Collections Case-Seller Plaintiff                                                 5., 6.
                       Collections (09)
    0                                             O A6012 Other Promissory Note/Collections Case                                         2-5.
    U

                   Insurance Coverage (18)        0 A6015 Insurance Coverage (not complex)                                               1., 2.. 5., 8,


                                                  O A6009 Contractual Fraud                                                              1.. 2., 3_5.

                     Other Contract (37)          0 A6031 lortious Interference                                                          1..2., 3., 5,

                                                  O A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)                  1_2_ 3., 8.

                   Eminent Domain/Inverse                                                            Number of parcels                   2.
                                                  0 A7300 Eminent Domain/Condemnation
                     Condemnation (14)

     >
    t                                                                                                                                    2., 6.
    a)              Wrongful Eviction (33)        0 A6023 Wrongful Eviction Case
    0
    0
    0                                                                                                                                    2_6.
     Ca
                                                  O A6018 Mortgage Foreclosure
     0)
    IX             Other Reel Property (26)       0 A6032 Quiet Title                                                                    2..6.

                                                  O A6060 Other Real Properly (not eminent domain, landlord/tenant, foreclosure)         2,, 6,

                Unlawful Detainer-Commercial          A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)                2..6.
     0)

     Ca         Unlawful Detainer-Residential
     a)                                           0 A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)                 2.. 6.

     =
                      Unlawful Detainer-                                                                                                 2_6
                                                  0 A6020F Unlawful Detainer-Posl-Foreclosure
     Cv             Post- Foreclosure (34)




                Unlawful Detainer-Drugs (38)      0 A6022 Unlawful Detainer-Drugs                                                        2_6.




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SHORT TITLE:                                                                                            CASE NUMBER
                    June Again, Inc. et al. vs. BMW of North America, LLC, et al.


                                  A                                                            B- ,                                                      C
                        ClvltÔase CôvérShéet                    ''                        Type of Action            .        .   ',      Applicable Reasons    -



                             Category No                                                 (Check only one)                                 See Step 3 Above

                          Asset Forfeiture (05)        0 A6108 Asset Forfeiture Case                                                     2., 6.


                       Petition re Arbitration (11)     0 A6115 Petition to Compel/ConfirmNacate Arbitration                             2.5.
         C)
         >
                                                       o    A6151 Writ Administrative Mandamus
                                                                        -
                                                                                                                                         2., 8.

         C-,              Writ of Mandate (02)          0 A6152 Writ    -   Mandamus on Limited Court Case Matter                        2.

                                                       o    A6153 Writ Other Limited Court Case Review
                                                                        -
                                                                                                                                         2.
     -




                       Other Judicial Review (39)       0 A6150 Other Writ /Judicial Review                                              2.8.


                     Antitrust/Trade Regulation (03)    0 A6003 Antitrust/Trade Regulation                                               1,, 2., 8.
         C
         0
         CD
         C,             Construction Defect (10)       0 A6007 Construction Defect
     —J
     >                Claims Involving Mass Tort
         a,                                             o   A6006 Claims Involving Mass Tort
         0
         E
     0
     C-)                Securities Litigation (28)      0 A6035 Securities Litigation Case                                               1,, 2..-8.

         CD
         =                    Toxic Tort                                                                                                 1,. 2...3.,8.
         0                                             0 A6036 Toxic Tort/Environmental
                          Environmental (30)
     >
     0
     0
                      Insurance Coverage Claims         0 A6014 Insurance Coverage/Subrogation (complex case only)                                2., 5., 8.
                        from Complex Case (41)

                                                       o    A6141 Sister State Judgment                                                           9.

                                                       o    A6160 Abstract of Judgment                                                   2..6.
   C C
   a) a
   EE                                                  0 A6107 Confession of Judgment (non-domestic relations)                           2..9.
   W an                       Enforcement
   C.) -                                                                                                                                 2_8.
                            of Judgment (20)            0 A6140 Administrative Agency Award (not unpaid taxes)
  C                                                                                                                                      2., 8.
  U) 0                                                  o   A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax
                                                        o   A6112 Other Enforcement of Judgment Case                                     2., 8., 9.


                               RICO (27)               0 A6033 Racketeering (RICO) Case                                                  1.,2_8.
               U,

                                                       U AbtJSU Ueclaratory Relief Unly
   C
   iDE                                                                                                                                   2.. 8.
  =  0                      Other Complaints           0 A6040 Injunctive Relief Only (not domestic/harassment)
   CC-)
   U,      =           (Not Specified Above) (42)       0 A6011 Other Commercial Complaint Case (non-tort/non-complex)                   1-2-8.
           0                                                                                                                             1_2., 5.
                                                        o   A6000 Other Civil Complaint (non-lort/non-complex)

                        Partnership Cofporalfon         0 A6113 Partnership and Corporate Governance Case                                2., 8.
                           Governance (21)

                                                        O A6121 Civil Harassment                                                         2., 3., 9.
   (I)         J)
               C                                        o   A6123 Workplace Harassment                                                   2., 1.9.
           .2
   C                                                                                                                                     2.. 3., 9.
                                                       O A6124 Elder/Dependent Adult Abuse Case
                            Other Petitions
   C-) =                 (Not Specified Above)          0 A6190 Election Contest                                                         2.
   U
                                 (43)                                                                                                    2 7.
                                                        0 A61 10 Petition for Change of Name                                                  .




                                                        o   A6170 Petition for Relief from Late Claim Law                                2., 3, 4., 8.

                                                        o   A6100 Other Civil Petition                                                   2..9,




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                                                                                           CASE NUMBER
SHORT TITLE:
                June Again, Inc., et al. vs. BMW of North America, LLC, et al.


                                                                                                                          or other
 Item Ill. Statement of Location: Enter the address of the accident, party's residence or place of business, performance,
                                                                                                                    selected.
 circumstance indicated in Item II., Step 3 on Page 1, as the proper reason for filing in the court location you

                                                                       ADDRESS:

  REASON: Check the appropriate boxes for the numbers shown           5070 Wilshire Blvd
  under Column C for the type of action that you have selected for
  this ease.

          Dl. E12. E-13. 04. E-15. 06. 07. 08. 09. 010

  CITY:                                      STATE:      ZIP CODE:

  Los Angeles                                CA         90036



                    of Assignment-. I declare under penalty of perjury under the laws of the State of California that the foregoing is true
 Item IV. Declaration
                                                                                               Stanley Mosk             courthouse in the
 and correct and that the above-entitled matter is properly filed for assignment to the
     Central                  District of the Superior Court of California, County of Los Angeles [Code Civ. Proc., § 392 et seq., and Local
 Rule 2.0, subds. (b), (c) and (d)J..




 Dated: 08/28/18




 PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
 COMMENCE YOUR NEW COURT CASE:

               Original Complaint or Petition.

            If filing a Complaint, a completed Summons form for issuance by the Clerk.

            Civil Case Cover Sheet, Judicial Council form CM-010.

            Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
            03/11).

            Payment in full of the filing tee, unless tees have been waived.

            A signed order.apôintingthe Guardian ad Litem, Judicial Council form CIV-01 0, if the plaintiff or petitioner is a
            minor under 18y6rs of age Will be required by Court in order to issue a summons.

            Additional copies of docun1rits to be conformed by the Clerk. Copies of the cover sheet and this addendum
            must be served along with the summons and complaint or other initiating pleading in the case




 LACiV 109 (Rev. 03/11)                    CIVIL CASE COVER SHEET ADDENDUM                                               Local Rule 2.0

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       I Norman F. Taylor, Esq. (SBN: 127325)                           FthMD COPY
          John K. Ciccarelli, Esq. (SBN: 139169)                      ORIGINAL FILED
                                                                  S,uperiOt Court of'C!I1ornIa
       2 NORMAN TAYLOR & ASSOCIATES                                 County ni Los nn,ias:
          425 West Broadway, Suite 220
       3 Glendale, California 91204-1269                                 SEP .062018:
          Telephone: 818.244.3905
       4 Facsimile: 818.244.6052                               shorn A. Carter, *ecutive Ulilair/Clerk
                                                                  y: Glonletta R 1;1SOfl, Deputy
       5  Attorneys for Plaintiffs,
          JUNE AGAIN, INC. dfb/a LOOKING GLASS FILMS
       6 and JUNE GUTERMAN

       7

       8.                  SUPERIOR COURT OF THE STATE OF CALIFORNIA

       9                   COUNTY OF LOS ANGELES    -   CENTRAL DISTRICT

   10

   11   JUNE AGAIN, INC. d/b/a LOOKING GLASS Case No.:      i8C' 7208 5.4
        FILMS, a corporation and JUNE GUTERMAN,
   12 'an individual and authorized signer,
                                                COMPLAINT RE VIOLATION OF THE
   13                  Plaintiffs,              SONG-BEVERLY CONSUMER
                                                WARRANTY ACT ["ACT"] {Civil Code §
   14          vs.                              1790 etgj:

   15 BMW OF NORTH AMERICA, LLC, a limited
       liability company; BEVERLY HILLS BMW, a 1.        BREACH OF EXPRESS
   16 business entity, form unknown; and DOES 1          WARRANTY OBLIGATIONS
       through 50, inclusive,                            UNDER THE ACT;
   17
                              Defendants.       2.        BREACH OF IMPLIED
   18                                                     WARRANTY OBLIGATIONS
                                                          UNDER THE ACT
   19

   20
                                                   DEMAND FOR JURY TRIAL
   LI

   22                                              UNLIMITED CIVIL CASE
                                                   Amount In Controversy Exceeds $25, 000
   -

   23

   24

   25

   26
               Plaintiffs, JUNE AGAIN, INC. dlb/a LOOKING GLASS FILMS and JUNE GUTERMAN,
   27
   28 (hereinafter referred to as "PLAINTIFFS"), hereby allege as follows:


            COMPLAINT RE VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT ["ACT"]
                                       (Civil Code §§ 1790 et seq.)
Case 2:19-cv-02220-VAP-KS Document 1-1 Filed 03/25/19 Page 13 of 43 Page ID #:21




                                            GENERAL ALLEGATIONS
                                   COMMON TO ALL CAUSES OF ACTION

                        PLAINTIFFS are, and at all times herein mentioned were, individuals residing in the

         City of Los Angeles, County of Los Angeles, State of California.

                        PLAINTIFFS are informed and believe, and thereon allege, that Defendant BMW OF

         NORTH AMERICA, LLC (hereinafter referred to as "BMWNA"), is, and at all times herein

         mentioned was, a limited liability company duly licensed and/or authorized to conduct business in,

         and conducting business in the County of Los Angeles, State of California.

                        PLAINTIFFS are informed and believe, and thereon allege, that Defendant

         BEVERLY HILLS BMW ("BEVERLY HILLS BMW"), is, and at all times herein mentioned was,

         a business entity, form unknown, duly licensed and/or authorized to conduct business in, and

   12': conducting business in the City of Los Angeles, County of Los Angeles, State of California.

   13           4.      a)      The true names and capacities, whether individual, corporate, associate, or

   14' otherwise, of Defendant DOES I through 50, inclusive, are unknown to PLAINTIFFS, who therefore

   15    sue these Defendants by such fictitious names, and PLAINTIFFS will seek leave to amend this

   16    Complaint to set forth their true names and capacities when ascertained.

   171                  b)      PLAINTIFFS are informed and believe, and thereon allege, that each of the

   18 Defendants designated herein as a "DOE" is responsible in some manner for the events and

   19 happenings herein referred to and caused damage to PLAINTIFFS as herein alleged.

   20           5.      a)      PLAINTIFFS are informed and believe, and thereon allege, that at all times

   21    herein mentioned, Defendants, and each of them, were the agents, servants, and/or employees of each

   22 I of their Co-Defendants.

   23                   b)      PLAINTIFFS are informed and believe, and thereon allege, that in doing the

   24    things hereinafter alleged, Defendants. and each of them, were acting in the course and scope of their

   25 employment as such agents, servants, and/or employees, and/or with the permission, consent,

   26    knowledge, and/or ratification of their Co-Defendants, principals, and/or employers.

   27           6.      PLAINTIFFS are informed and believe, and thereon allege, that before October 22,

   28 2015, Defendants BMWNA and/or DOES I through 20, inclusive, and each of them (hereinafter
                                                 2
         COMPLAINT RE VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT ["ACT")
                                    {Civil Code §§ 1790 et seq.)
Case 2:19-cv-02220-VAP-KS Document 1-1 Filed 03/25/19 Page 14 of 43 Page ID #:22




    I individually and collectively referred to as the "MANUFACTURER"), manufactured and/or

    2 .distributed, in the United States and the State of California, a consumer good identified as a 2016

    3 BMW 640i CONVERTIBLE bearing vehicle identification number WBA6F1C59GGT83215

    4 (hereinafter referred to as the "SUBJECT VEHICLE"), for its eventual lease to retail lessees. A true

    5   and correct copy of the Motor Vehicle Lease Agreement is attached hereto as Exhibit "A" and

    6   incorporated by this reference.

    7          7.      At all times mentioned herein, the SUBJECT VEHICLE was, and is, a "new motor

    8   vehicle" as defined at Civ:iLCbd 1793.22(e)(2) of the Song-Beverly Consumer Warranty Act, cjjl

    9   Code § 1790 et seq. (hereinafter referred to as the "ACT"), in that said SUBJECT VEHICLE was a

   10 new motor vehicle leased with the MANUFACTURER's new car warranty.

   11          8.      On or about October 22, 2015, PLAINTIFFS leased the SUBJECT VEHICLE for,

   12 business or commercial purposes, from Defendant BEVERLY HILLS BMW, an authorized dealer

   13 and agent of MANUFACTURER, and/or DOES 21 through 50, inclusive, and each of them

   14 (hereinafter individually and collectively referred to as "DEALER"), retail merchants authorized by

   15   MANUFACTURER to do business in the State of California on behalf of MANUFACTURER, for a

   16 total consideration over the term of the contract of $50,131.85, and a gross capitalized cost of

   17 $87,402.03.

   18          9.      MANUFACTURER appended to the SUBJECT VEHICLE an express written "new

   19 car" warranty in which it warranted to perform any repairs or replacement of parts necessary to

   20 ensure that the SUBJECT VEHICLE and the components therein were free from all defects in

   21   material and workmanship, and to perform any adjustments necessary to maintain the utility of the

   22 SUBJECT VEHICLE and the parts, components, and various electrical and/or mechanical systems

   23 contained therein, for a period of 4 years/50,000 miles. A true and correct copy of the express

   24 warranty summary is attached hereto as Exhibit "B" and incorporated by this reference.

   25          10.     PLAINTIFFS duly performed all the conditions on their part under the lease

   26 agreement and under each of the express warranties referenced above, except insofar as the acts

   27   and/or omissions of all Defendants herein, and each of them, as hereinafter alleged, prevented and/or

   28 excused such performance.

         COMPLAINT RE VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT ["ACT"]
                                    {Civil Code §§ 1790 et seq.)
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    1             11.     a)        On or about July 20, 2016, and at an odometer reading of or around 5,520

    2 :rniles, PLAINTIFFS returned the SUBJECT VEHICLE to Defendants for repairs under the

    3 wananties referenced above because it exhibited defects, nonconformities, maladjustments or

    4 malfunctions relating to, inter alia, the convertible top.

    5                     b)        Subsequently, the SUBJECT VEHICLE exhibited further and additional

    6     defects, nonconformities, maladjustments or malfunctions in the same components or systems.

    7             12.     a)        On each occasion on which the SUBJECT VEHICLE exhibited defects, non-

    8 conformities, misadjustments, or malfunctions, as hereinabove described, PLAINTIFFS notified

    9 MANUFACTURER, through BEVERLY HILLS BMW or one of MANUFACTURER'S other

   10 authorized service and repair facilities, within a reasonable time after PLAINTIFFS' discovery

   11 'thereof.

   12                     b)        On each occasion of notification, PLAINTIFFS attempted to invoke the

   13     applicable warranties, demanding that the authorized repair facilities repair such nonconformities

   141I pursuant to the warranties.
   15                     a)        On each such occasion, Defendants, and each of them, represented to

   16     PLAINTIFFS that they could and would make the SUBJECT VEHICLE conform to the applicable

   17     warranties, and/or that they had successfully repaired the SUBJECT VEHICLE.

   18                     b)        However, Defendants, and each of them, failed to make the SUBJECT

   19     VEHICLE conform to the applicable warranties, despite a reasonable number of attempts to do so.

   20                     On or around July 25, 2018, PLAINTIFFS discovered that Defendants, and each of

   21     them, were unable or unwilling to make the SUBJECT VEHICLE conform to the applicable

   22     warranties.

   23                                        FIRST CAUSE OF ACTION
   24                          (Breach of Express Warranty Obligations Under the ACT)
                                               (Against All Defendants)
   25
                          PLAINTIFFS reallege each and every paragraph contained in the GENERAL
   26
          ALLEGATIONS set forth hereinabove, and hereby incorporates them by this reference as though
   27 I
          fully set forth herein.

                                                     4
           COMPLAINT RE VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT ["ACT"]
                                      { Civi l Code §§ 1790 et seq.)
Case 2:19-cv-02220-VAP-KS Document 1-1 Filed 03/25/19 Page 16 of 43 Page ID #:24




                        The actions of Defendants, and each of them, in failing to perform the proper repairs,

        parts replacements, and/or adjustments to make the SUBJECT VEHICLE conform to the applicable

        express warranties constitute a breach of the express warranties that MANUFACTURER provided to

        PLAINTIFFS, thereby breaching Defendants' obligations under the ACT.

                        a)     As the result of the actions of Defendants, and each of them, and pursuant to

        the provisions of the ACT, PLAINTIFF is entitled to replacement of the SUBJECT VEHICLE, or

    7   restitution of the amount actually paid or payable under the contract, at PLAINTIFFS' option, plus

    8, prejudgment interest thereon at the legal rate.

    9                  b)      PLAINTIFFS will seek leave of the Court to amend this Complaint to set forth

   10 the exact amount of restitution and interest, upon election, when ascertained.

   11           18.    a)      As a further result of the actions of Defendants, and each of them, and

   12 pursuant to the ACT, PLAINTIFFS have sustained and are entitled to Incidental damages in an

   13   amount yet to be determined, plus interest thereon at the legal rate.

   14                  b)      PLAINTIFFS will seek leave of the Court to amend this Complaint to set forth

   15   the exact amount of incidental damages when ascertained.

   16          19.     a)      As a further result of the actions of Defendants, and each of them, and

   17 pursuant to the ACT, PLAINTIFFS have sustained and are entitled to consequential damages in an

   18   amount yet to be determined, plus interest thereon at the legal rate.

   19                  b)      PLAINTIFFS will seek leave of the Court to amend this Complaint to set forth

   20   the exact amount of consequential damages when ascertained.

   21          20.     a)      Defendants, and each of them, failed to perform the necessary repairs or

   22   service in a good and workmanlike manner.

   23                  b)      The actions taken by Defendants, and each of them, were insufficient to make

   24   the SUBJECT VEHICLE conform to the express warranties and/or proper operational characteristics

   25   of like vehicles, all in violation of Defendants' obligations under the ACT.

   26          21.     Although Defendants, and each of them, were unable to service or repair the

   27   SUBJECT VEHICLE to conform to the applicable express warranties after a reasonable number of

   28   attempts, Defendants failed to replace the SUBJECT VEHICLE or make restitution to PLAINTIFFS
                                                 5
         COMPLAINT RE VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT ["ACT"]
                                    (Civil Code §§ 1790 et seq.)
Case 2:19-cv-02220-VAP-KS Document 1-1 Filed 03/25/19 Page 17 of 43 Page ID #:25




          in accordance with the ACT.

    2             22.     Defendants, and each of them, knew of their obligations under the ACT but

    3     intentionally failed or declined to fulfill them.

    4             23.     The failure of Defendants, and each of them, to make the SUBJECT VEHICLE

    5 conform to the applicable express warranties was willful, justifying an award of a Civil Penalty as

    6     provided in the ACT in an amount not to exceed two (2) times PLAINTIFFS' actual damages.

    7             24.     The failure of Defendants, and each of them, to replace the SUBJECT VEHICLE or

    8     make restitution to PLAINTIFFS was willful, justifying an award of a Civil Penalty as provided in

    9     the ACT in an amount not to exceed two (2) times PLAINTIFFS' actual damages.

   10             25. a)          On or about July 25, 2018, PLAINTIFFS made demand upon

   ill MANUFACTURER for replacement or restitution, pursuant to the ACT.

   12 1                   b)      Defendants, and each of them, knew of their obligations under the ACT, but,

   13 nevertheless, and despite PLAINTIFFS' demand, failed and refused to make restitution or

   14     replacement according to the mandates of the ACT.

   15                     C)      The failure of Defendants, and each of them, to refund the consideration paid

   16     and payable, or to replace the SUBJECT VEHICLE with a similar vehicle free from defects, justifies

   17     an award of a Civil Penalty in an amount not to exceed two (2) times PLAINTIFFS' actual damages,

   18 as provided in the ACT.

   19            26.      a)      As a direct result ot the actions ul L)elendants, aria eacn or tnem, aria in

   20 pursuing PLAINTIFFS' claim, it was necessary for PLAINTIFFS to retain legal counsel.

   21                     b)      Pursuant to the ACT, PLAINTIFFS are entitled to the recovery of attorneys'

   22 fees based upon actual time expended, and to the recovery of all costs and expenses reasonably

   23     incurred in pursuing this matter.

   24
                                            SECOND CAUSE OF ACTION
   25                          (Breach of Implied Warranty Obligations Under the ACT)
   26                                          (Against All Defendants)

   27            27.      PLAINTIFFS reallege each and every paragraph contained in the GENERAL

   28     ALLEGATIONS set forth hereinabove, and hereby incorporates them by reference as though fully

                                                  6
          COMPLAINT RE VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT ["ACT"]
                                     (Civil Code §§ 1790 et seq.)
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        set forth at length herein.

    2           28.     At the time that MANUFACTURER distributed the SUBJECT VEHICLE into

    3 commerce, and at the time that PLAINTIFFS acquired the SUBJECT VEHICLE, Defendants, and

    4   each of them, impliedly warranted that the SUBJECT VEHICLE was merchantable as provided in

    5 the ACT.

    6           29.     The SUBJECT VEHICLE was not merchantable, as evidenced by the defects, non-

    7   conformities, maladjustments, and/or malfunctions as hereinabove alleged.

    8           30.     a)       As the result of the actions of Defendants, and each of them, PLAINTIFFS

    9 have sustained damage in the amount actually paid or payable under the contract, plus prejudgment

   10   interest thereon at the legal rate.

   11                   b)       PLAINTIFFS will seek leave to amend this Complaint to set forth the exact

   12   amount thereof when ascertained.

   13           31.     a)       As a further result of the actions of Defendants, and each of them,

   14 PLAINTIFFS have sustained incidental damages in an amount yet to be determined, plus interest

   15   thereon at the legal rate.

   16                   b)       PLAINTIFFS will seek leave to amend this Complaint to set forth the exact

   17   amount of incidental damages when ascertained.

   18           32.     a)       As a further result of the actions of Defendants, and each of them,

   19 F PLAINTIFFS have sustained consequential damages in an amount yet to be determined, plus interest

   20 thereon at the legal rate.

   21                   b)       PLAINTIFFS will seek leave to amend this Complaint to set forth the exact

   22   amount of consequential damages when ascertained.

   23           33.     a)       The failure of Defendants, and each of them, to refund the consideration paid

   24   and payable, or to replace the SUBJECT VEHICLE with a similar vehicle free from defects, justifies

   25   an award of a Civil Penalty in an amount not to exceed two (2) times PLAINTIFFS' actual damages,

   26 as provided in the ACT.

   27           34.     a)       As a direct result of the actions of Defendants, and each of them, and in

   28   pursuing PLAINTIFFS' claim, it was necessary for PLAINTIFFS to retain legal counsel.
                                                 7
         COMPLAINT RE VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT ["ACT"]
                                    {Civi) Code §§ 1790 et seq.}
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    1                      b)      Pursuant to the ACT, PLAINTIFFS are entitled to the recovery of attorneys'

    2 fees based upon actual time expended, and to the recovery of all costs and expenses reasonably

    3       incurred in pursuing this matter.

    4

    5              WHEREFORE, PLAINTIFFS pray for judgment against Defendants, Does 1-50 and each of

    6 them, as follows:

    7                                                       THIRD CAUSES OF ACTION                                I'

    8              1.      For replacement or restitution, at PLAINTIFFS' option, as required under the ACT, in

    9       an amount not less than $50,131.85;

   10              2.      For incidental damages, according to proof;

   11              3.      For consequential damages, according to proof,

   12              4.      For prejudgment interest at the legal rate;

   13              5.      For a civil penalty as provided in the ACT, in an amount not to exceed two (2) times

   14       the amount of PLAINTIFFS' actual damages;

   15              6.      For attorneys' fees based upon actual time expended, according to proof,

   16              7.      For all costs and expenses of suit incurred; and,

   17   :          8.      For such other and further relief as this Court may deem just and proper.

   18

   19       DATED: August 28, 2018                        NORMAN TAYLOR & ASSOCIATES

   20
                                                          By:
   21                                                           Norman F. Taylr .
                                                                Attorneys for P.
   22                                                           JUNE AGAIN, Cd b/a LOOKING GLASS
                                                                FILMS and JUNE GUTERMAN
   23

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                                                     8
             COMPLAINT RE VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT ["ACT"]
                                        {Civil Code §§ 1790 et seq.}
Case 2:19-cv-02220-VAP-KS Document 1-1 Filed 03/25/19 Page 20 of 43 Page ID #:28




                                           DEMAND FOR JURY TRIAL

    2              Plaintiffs, JUNE AGAIN, INC. d/b/a LOOKING GLASS FILMS and JUNE GUTERMAN,

    3       hereby demand trial by jury.

    4 .
            DATED: August 28, 2018                NORMAN TAYLOR& ASSOCIATES

    6
                                                  By________________________
                                                     Norman F        5jEsq
                                                     Attorneys fof Pj(ntiffs,
    8                                                JUNE AGA1Nç INC. dlb/a LOOKING GLASS
                                                     FILMS and JUNE GUTERMAN
    9

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            COMPLAINT RE VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT ["ACT"]
                                       {Civil Code §§ 1790 et seq.}
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          Case 2:19-cv-02220-VAP-KS Document 1-1 Filed 03/25/19 Page 22 of 43 Page ID #:30
                                                                                                                                              '...'      •j-;.



BMW Financial Services -LEASEAGREEMENT                                                                                                                           f7 G.
Mntnr \/hid I    Aareement (Closed End) California                                                          -                                FORH# 22?                                           .,.&•1,,,


 1. PARTIES
 Lessor (Center) Name and Address                                 LessèeandC-Lesee Name and Address                                  Vehicle Garaging Address (if Different)

          BEVERLY HILLS BMW                                           JUNE AGAIN, INC DBA LOOKING G

         5070 WILSHIRE BLVD                                           2419 CANYON OAK DR                                             B1Urg Address (if Different)
         LOS ANGELES, CA, 90036                                       LOS ANGELES CA 9.0068                                                  -.



                                                                      LOS APLES     COUNTY
 THERE IS NO COOLING OFF PERIOD California law d6e'?not provide for a "cooling off' or other cancellation period for vehicle leases
 Therefore, you cannot later cancel this lease simply beëue/óu change your mind, decided the vehicle costs too much, orwish you had adguired
 a different vehicle. You may cancel this lease only with the agreement of the lessor or for legal cause, such as fraud.

2 Agreement to Lease This Motor Vehicle Lease Agreement ("Lease") is entered into been the lessee edco ltsee (Lessee') and the ldsor (isor')
named above Unless otherwise specified, I     me and my refer to the Lessee and' yoO'and your refer totteLessoror Lessor's asstgnee "Vehicle refirs
to the leased vehicle described below 'Assignee refers to BMW,Finaocial Services NA LLC ( BMW FS ) or if this box is checked fl to             iqq.
Trust BMW FS will admmistetthts Lease on behalf of itself or anssignee The consumer lease disclosures contained in thiS Lease aro mad& on behalf of
Losàr.and itss'uccessorsorassignees.

3-Date of Lease, Lease Term and Scheduled Maturity Date This Lease is entered into on
                                                                                                                                     10/22/15                for the scheduled Lease Term of
         36      monthswltha Scheduled Maturity Date of                         10/21118                                                                 -




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o Telephone        I U CD Player          0                       "                      p.   ify)    0                                 (specify)            0                                    (speci')

 B. Trade-In         Model Year        Make                       I Model                                   Agreed Upon Value           Prior Cedit or Lease Balance                    Net Trade-In Value
                                   i
                                                                                                                                             ,ithX_,                                _          000

 This box is for use by original Lessor.and,rne tothemo'rialiie:tra,fqji turn-in and other individualIzed agreements. If none, enter "None" or 'NIA" Assignee'.
 will not be obligated
                iga    for agreements disclosed in this ox;.- -
          t,es         _agrees   his Liea.Se__cP ,-t be ssi9ned y Lessor tc 4,flnancjal,                                                                                            •


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          1rtst'ttut-tor
          And Lessor gves notice tp Lessee wil in 10 days, thtsLea ? will be.escind9d..
          Lessee must IW*retvrn the vehi cle                                                     Lessor n gçod, condi.tionand
          then return aconsideration paid.                                                                                         _...i_.-                              ...-..,.          .




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                                                                    payments of                                                                                                         =1
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              11s1111X'II]                    The tiJlpf.,y rgnthly payrnents is                                                                                           50131.85
$                                                     U.ib                        TOTAL                                             $         3SOls

                                                                                                                C,




 A. Amount Due at Lease Signing or Delivery                                     '  A. Gross Capitalized Cost. The agreed upon value of the Vehicle
     1   Capitalized Cost Reduction                   $                               ($_   86 27            any items I pay for over the Lease Term
     2: First Monthly Payment                         $           ._  .i bUj
        Refundable Security Deposit                   $                       U_OU    (such as taxes, fees, service contracts, insurance, and any
        Initial Title Fees                             $                      jIN'    outstanding prior credit or lease balance)
        Initial Registration Fees                     $                     _         (See Sectiori13-frit&nizatioroLthiamount).                    $                           .              97402.Od
        Initial License Fees                           $                   Sb.'.                        -
                                                                                                        .
                                                                                                                .•   •     .         .

                                                                            9J'    B. Capitalized Cost Reduction. The a,1ount of any net
        Sales/Use Tax
        Acquisition Fee (if not capitalized)           $                    Z5.00 trade-in allowai; rebate, noncosfcredit, or cash
        Electronic Vehicle Registration or                                               '.      I pay that reduces the Gross Capitalized Cost.                             -   $               2712.
        TransfemCharge.(nota9oVernptlICe)
                                             ,                              29.     C. Adjusted Capitalized Cost. The amount used in
         (ilnotcapitalized) Paid to.                   $                                 •.
                                                                                                                                                                                               84689__52
        Sales Tax on Capi   t alized Cost Reduction   $                           calculating my Base Monthly Payment.                                                      =   $   -



        Document Processir Charge                     $       .
                                                                            81,3.00 D. Residual Value. The value of the Vehicle at the end of
                                                                            -


                              ee)(if not capitalized)
        (not a governmental f..                                        -     .7 .00....the                               9ae Moñtffy Pyinent'
    12. Califonia Tire Fee                            $                                                                                             Th
     i.
           Case 2:19-cv-02220-VAP-KS Document
           ..iuiiuii lid IIIe ree
                                          Ii)
                                              1-1 Filed 03/25/19 Page 23 of 43 Page ID #:31
           Theft Deterrent Device                                $                                          Depeciation,arl any Amortized Aniounts. The amount
           Theft Deterrent Device                                $                                          charged for the Vehicle's decline in value through normal
           Surface Protection Product                            $                     it                   use and for other items paid over the Lease Term.
                                                                                                                                                                                          34312.27
           SurWrotection Product                                 $ -                            IN          Rent Charge. The amount charged in addition to the
    .18:                 .      ..   ...   .......-..            $     ..    ..                             Depreciaion.and ariy.Amortized Amounts,                                             02. 05
                                                                                                            Total of Base Monthly Payments. The Depreciation
     20.                                                         $                                          and any Amortid-Arnounts plus the Rent Charge.
                                                                                                                                                                                          41314.32
    TOTAL                                                        $                                                                                                                          36
                                                                                                            Lease Paymës.The number of pfyments in my Lease.                                          —

                                                                                                                                                t' .
                                                                                                            Base Monthly Pyment,                                            =$            1147.62
    B. How the Amount Due at Lease Signing or Delivery Will Be Paid
         Net Trade-In Allowance                    $                                                        Sales/Use Tax.                                                                 103.29
         Rebates and Noncash Credits               $                         _____                                N/A                                                                         N/A
         Amount to be Paid in Cash                 $                                                  L Total Monthly Payment.                                              =$            1250.91
    TOTAL                                                                   h000
                                                                     __________
                                                                                                                                                                                  -




        Early Termination 1 may have to paya substantial charge if lend this Lease earlyI The chaiqiav be up tGseveraltllousand dollars The actual charge will
        depend on when the Lease is terminated. The earlier lend the Lease, the greater this thargejsjukelyto be..

         Excessive Wear and Use. I maje ç)jged for exéessive.we         sen your standards for normal use and for mileage in excess of total miles Over the
         scheduled Lease Term of.           UVU miles, at the atéØs'J cents per mile.
         Put has ptio.t,Epi1 q(Le eTemt1 have an opt npurchase the Vehicle (as.is") at the Scheduled Termination of the Lease for is Residual
         Value olS_ U.5FI _ 1The purchase option price does notinclude official fees such as those for taxes title registration and license/tags See Section
         3Oforrn9jeuf6rmatton
    Other I         ntTenns Seethe front and back of this Lease for additional informatton,i early termtnat,o/urc
                                                                                                            lllhase options, and main tet1ce repon
    51bi11t1es1 warrantIes late and default charges, insurance and any security interest if apJjble                                            1,.




      AgreedUpon Value of Vehicle as Equipped at the                                                                  Document Processing Charge (not a governmental fee)$
                                                                                   86027 03                           Maintenance Agreement                               $
      Time of Lease Signing                           $                                                                                                                                     .


      Agreed Upon Value of Each Accessory and item of                                                                 MI      hjcal.Bákdown Protection                    $                          iA
      Optional Equipment Original Lessor Agrees to                                                                    Ex&dWarrant'
      Add t     Vehicle after Lease signing                                                                       L. SContráct.-.         .                               $                      H/A
                                                                                                       MIA
      —i1uiOt_1OOTRINT                                                            ._
                                                                                                                     PriorCré'ditdrLe sèBalance*                         .$.          .

                                                                                                                      Electronic Vehicle Registration or Transfer Charge $                       H /A
                                                                       $:
                                                                                                     •9f4            (not,a. governmental fee)
      •_N/A
                                                                                   Ot126--O3                      0. Acquisitloo.Eje           -       .                  $               _______

  Total Agreed Upon Value of Vehicle                                   $                                             Other _ flW LEASE PROIEC1                            $               LIb.UU
  lnitial.Title, License & Registration Fees                           $                                             Other       ri/A                                     $                     N/A
E Sales/Use-Tax.                           .•-.   .              '
                                                                                                                                                           ..   -.
  Federal Luxury Tax                                                   $                                          TOTALOSS CAPITALIZED .COST (C through R) $                         7402            3
  Sales Tax on Capitalized Cost Reduction                              $    _______________
                                                                                                            A                      :
                                                                                                                  *Leave b31aik unless Lessor has paid prior credit .orl ease- balance.
                                                                                       .i.




    $            6043. 0-his is an estimate of thetotal amountl agree to pay for official and license lees registration title and taxes (ii,
    erty taxes) over the Lease Term whether included in my Monthily Payment, Amount DueahLeäse Signing or Deli.eiy, drseparately
    ojOffkcia,(.EsdJaxs,rnay-be higheior.1pWr                        othe tax jes    fe.lue tLlEle.at th.time a.tee a
    estimate is based on my Garaging Addrss andmayiiicredeif'l move or if tax rates chàrfge. For somè of thee items, you may in
    authority has billed you, sometimes a fter the,lease terminates,

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lam not required to buy any of the optional products and services listed below. These prodcicts and/of services will not be lEiroi,iaed urile"s§ lhäkthe'pb?o-
priate box fill in all necessary information initial below and I am accepted by the Provider. 8,pcayse these products and or services are not provided by. the Lessor
I understand that I must pursue all related matters including refunds through the listed Pro.'ider. By initialing below I agiei. t.hat I have received and reai a notice
of the terms of the product or service and I want to obtain the produc t or service for the charge hown. A portion of the charge maybe retained byLessor(Deler).
                                                                                                                   lilA
O Maintenance Agreement                                                                                             "'•'              $                    NIA
                                                                                            •

                                                      Proyjce                                                Term (ophs)              Charge                            Lessee/Co-Lessee Initials
O Mechanical Breakdown Pmtection                         l/                                                        HIM                $             __IiLA_                   N/A
                                                      Provider                                               Term (Months)            Charge                            Lessee/Co-LesSee Initials
Q            N/A                                         N/A                                                       N/A                $        ..           ./..tL
                                                                                                                                                                     _.._Lessee/CoJessea]nitiaL&_-
Mileaqe Allowanceefund.
                    /R                                                                                                        .



—
      30, 009 _l agree to this Mileage Allowance for the term of this Lease. My Monthly Payment and Residual Value for this Lease have been
Enter Mileage           calculated in port, by using this Mileage Allovice.
O If this boxs c,heckod, I have elected a high Mileage Allowance 1pi'ay receive a refund of _j                  cents per unused mile for the unused miles between
                     miles and /A               milCs, urilSS (a) the Vehicle is considered a total loss under my insurance coverage due to damage, theft or destruc-
tion,(b) I default (C) I terminate this Lease early,(d) I purchase the Vehicle or (e) the refund is less than $1 Any rpfuricl will be reduced by any amount lowe
                                                       l
under this Lease at the Scheduled Termination

                                                                                                                                                   —
                                                                                                                                                                                            --
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     The Vehicle is subject to the 1ollowirig express warranties If the Vehicle fiw the Vehicle is subject to the standard manufacturers new vehicle wartht' TheVehil'Icilb
     covered by the following if checked                                    ..

     o Remainder of the standard manufacturer ' s new vehicle warranty if the Vehicle is not anew vehicle.



     UNLESS A LESSOR S WARRANTY IS DISCLOSED ABOVE, LESSOR, TO THE EXTENT eERMITTED BY LAW (1) MAKES NO WARRANTIES OR REPRESEN-
     TATIONS ErrHER EXPRESSED OR IMPLIED, AS TO THE VEHICLE OR ANY OF ITS PACTS OR ACCESSOf1ES AND (2) MAKES NO WARRANTY OF MER-
     CHANTAlL11Y OR Fl NESS'OF THE.VEI-JICLE FOR .ANYPARTICULAR PURPOSE. iACKNOWLEDGE THAT I AM LEASING THE VEHICLE FROM THE
     LESSOR "AS IS"


     17. INSURANCE VERIFICATION
     I agree to maintain the insurance coverage described in Section 23 I affirm that such insurance is in force on the date of this Lease I authorize Lesorarid its
     assignees to sprdk to my iriuYrCeOgent or company, and any future insurance agents or companies about my coverage for the leased Vihicle
        STATE FARM                                                         2834OSQO275C                                                      '               NEDA1
     Insurance Company                                                      Pojlcy No                                                                             CoveThge 7/(                                  er Employees lnttials)
        'orrnco-r.rrlie
       •.VDL5Vj.O:1I
                                                                                                                                                                  -       -'         -       f.        •. "'•

     Agent Name                                  Address                             -                             Phone o
     All matters regarding insurance should be sent bye mail to Insuraelnfo@brT)wfs corn or faxed to 888-725, 8456



         !nMEE NOTICES AND SIGNATURES
                                                                                                                                 ,.
                                                                                     .-.          ....-;-.
    In this section 18, I am referred to as You
    You have-the nght toetum the Vehicles and receive refund of anypaymentmacfe, if                                                          crii jipplication is hot approved unless nonap'iiaf                                                  -
    an incomplete application or from incorrect information proinded bou
                                                                                                                                                                                                                                 '
    THERE IS NO COOUI'4G OFF PERIOD California Jaw does not pr rd' for a "cooling off" or ot)ercanceIIation period for vehicle leases    ere.
       latercancel this Lease simplybecause you c'hange yourmind, decided the Vehicle costs toqmuch, or wish you had acquired a different veh,cleYo) may
    cancel this Lease-onlywith the agreement of the Lessor orfor legaI'd ause,.such as fraud
                                                                           .......................................................                   ......           .

      NOTICETO LESSEE (1)00 not sign this Lease before you rçad it or if it contains any blank spaces to be filled in, (2) You are entitled to a completely filled
      in copy of this Lease, (3) Warning -Unless a charge is included in this Lease for public liability or property damage insurance, payment for that covee
      is not provided by,this Lease
    By signing bel    tea 19Wtedge th                            LLbaveaçtfront and bact of this Lease, and that you have received a completely
    filled In9I,r51thIs Leasy'

                             fy
                                                                                                                                                                           .,--      •                               ,                                -
    By (Print Name&TmtleifCorporation)                                                                                By(PriNTle&TltleifCorqjaIIon)
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               ..........................          .......  e,               ..- ........           ..-..,   .             -   ,._*-_            --,-..........   .   ,    f-...._           .......   - ....


       X.1I1A1:1JkI                                                                                                                                                                                              ...,----.

                                                                     •;'             çii'.......,.                                                   .      • .,- .

    I jointly andevrallgcaranteepayrnentand p ormacapfalljrpmises.coithined in this Lease.Upon default, Less,çr.may proceed mmediatelygastmewd
    oiitfirst proceeding againsithe Lessee My ltabilit' will be unconditional and ibill not be affected by any settlement, extension renewa,or l71QdIficatib)1f      1ias
    whether or not by Operation of law I waive all right to notices of every kind1 Including rights to demand and presentment [agree to pay all expensosincludjng resonable
    attorneys f'eeand legal expenses) you incur if.you hive to en(orco this Guaranty
    I NOTICETO    LESSEE (1) Do not sign this Lease before you read it or if it contains aiTybtk spaces to be tilted in, (2) You are entitled to a complételyfilled
      in copy of this Lease (3) Warning- Unless a charge is included in this Lease for Pblió'liabiFity or property damage irsurance, payment for thatcôv                                                                                      -
                                                                                                                                                                                                         ?'
                                                                                                                 -


                                                  •'                                                                   "                                          .--                                                                             -
    By signing below, you ackno                        et            you have                                        e pages of this Lease, that you have received,a completely
    filledincopyofthise- '                                                              r

    Guarantor's Signature                                                                                            Guarantor's Signature X
                                                                                                                                                                                                                             -


                                                                                                                                        .:                                     ;.
                                                                                                                                                                                         .                                           .
        ross                                                                                                         A1dress                                                                                             -               -
                                  -
                                                                 I                                                                                                                                              -, -• .._1_._
    20. LESSOR'S ACCEPTANCE AND ASSIGNMENT.,                                          ----•---                                                   -          L---                                                  TW----,---
    By signing below Lessor (1) accepts the terms conditions and obligations of this Lease and (2) assigns all right title and interel,t in the Vdhicl a ILea
    the Assignee listed in Section 2 above This Lease including all amounts 10 become due under ond any guaranty art subject to the provi         the CenterAgreerpent
    between Lessorad4S                                                                                                                                           1
                                  HILLS BMW
      ssorName                                                                                                       SignatureofAulhorizcdRepresentative
j
                                                                                                    -
                                                                                                                                                                                                                     Mar
2204 (7/13)(CA)                                                                                                                                                                                                                              --
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                                          am
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                                          rrontic
              UvrvIew of BMW Liiuiitèd Wa
                                       Months
                                           48                        4 yearsl5D,000 Miles
              New Vehicle Warranty
                                                   mmmm                                              12 yoar&Unllmlted Miles
              Rust Perforation Warranty     144                                                                                   I-




              Federal Emission Warranty            m


              -Alt Emission Related Parts 24         2Yearsl24,O
                                                                ssmol                                          l
                                                         o
                                                                   8 years/80,000 Mites
              -Specific Control Devices       96


              California Emission
              Control Warranty*
                                                                      3 years/50,000 Mites
              -All Emission Related Parts 36
                                                   mmmmm                                7 yearsl70,000 Miles
              -Specific Control Devices       84
                                                                             --


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                                                      1u,IJLJU ZU,QUY 6U,.UUU AU,UUU
                                                                                                    U.S.-specification BMW
                                                          'L1nited Warranty applies to all 2016
               'ThoCaliIOmja Emissions ContcolSystern                   , Main e Mary  land  Mass   achu   setts, Now Jersey
                                                      ecticut Delaware
               vehicles registered In California Conn                                 ori  The   Calif ornia  Emissions Control
                                                      e Island VorrnontorWashlrigt
               NewYork Oregon Pennsylvania Rhod                     V (PZE  V) mode  ls  regis tered  in Delaware Oregon
                                                              SULE
               System Umited Warranty also applies to 2016                                               Connecticut, Maine,
                                                          V(PZEV) models registered in California
               Pennsylvania and Washington The SULE                                         ont   have   diffei ent emissions
                                                    y, Now York Rhode Island and Verm
                Maryland Mass-ichusetts New Jerse                  V) secti on begin ning  on   page   37
                                                     SULEV (PZE
                warranty coverage please relerto the
                                                                                     vehicles and covers eligible
                                               y only to U.S.-speciuication BMW
               The BMW limited warranties appl                    anty serv ice is perfo  rmed at an authorized
               warranty repair or replacement
                                              work when the warr                          applicable exclusions
                                                                              ect  to all
                                                (including Puerto Rico), subj
               BMW center in the United States
               and/or limitations.
c




                                                                        19
         Case 2:19-cv-02220-VAP-KS Document 1-1 Filed 03/25/19 Page 28 of 43 Page ID #:36

                  SUPERIOR COURT OF CALIFORNIA                                                         CON ycqyj
                                                                                                        O
                                                                                                        RIGINAL. -PY
                     COUNTY OF LOS ANGELES                                                         Supirg, Court FIL
  COURTHOUSE ADDRESS:                                                                                County of Lc0? C?lfornJa
                                                                                                                  Ano
  111 North Hill Street, Los Anqeles, CA 90012
                                                                                                         SEP 062018

                                                                                               Sherri R Caner, Ecutlye 41I1crn1CI.rk
                    NOTICE OF CASE ASSIGNMENT                                                   B y , Glorlena HU..'izon, Doputy

                        UNLIMITED CIVIL CASE IC             -




                                                                                      !CA SE                          I V
  Your case is assigned for all purposes to the judicial officer indicated below.


                            THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT         ROOM    -              ASSIGNED JUDGE                     DEPT     ROOM
                                                                      -


          Hon. Debre K. Weintraub               I          534            Hon. Randolph Hammock                       47           507
          Hon. Barbara A. Mciers               12          636            Hon. Elizabeth Allen White                  48           506
          I-Ion. Terry A. Green                14          300            Hon. Deirdre Hill                           49
                                                                                                   '                               509
    *     Hon. Richard Fruin                   15          307            I-]on. Teresa A. Beaudet                    50           508
          Hon. Lia Martin                      16          306            Hon. Dennis J. La din                       51           511
          1-Ion. Richard E. Rico               17          309            Hon. Susan Bryant-Deason                    52           510
          Hon. Stephanie Bowick                19          311            Hon. Howard L. Halm                         53           513
          Hon. Dalila Corral Lyons             20          310            lion. Ernest M. Hiroshige                   54           512
          Hon. Patricia NieLo                  24          314            Hon. Malcolm H. Mackey                      55           515
          Hon. Yvette M. Palazuelos            28          318            Hon. Holly J. Fujie                         56           514
          Hon. Barbara Scheper                 30          400            Hun. Steven J. Kleiuield                    57           517
          Hon. Samantha Jessner                31          407            Hon. John P. Doyle                          58           516
          Hon. Daniel S. Murphy                32          406            Hon. Gregory Keosian                        61           732
               Mieliael P. Li.                 34          408            Hon. Michael L. Stern                       62           600
    (n,Gregory Alarcon                         36          4I0            Hon. Mark Mooney                            68           617
                                                                      -


          Hon. David S. Cunningham             37          413            Hon. William F. Fahey                       69           621
          Hon. Maureen Duffy-Lewis             38          412            Hon. Monica Dachner
                                                      .
                                                                                                                      71           729
          Hon. Elizabeth Fcffcr                39          415            Hon. Ruth Ann Kwan                          72           731
          Hon. David Sotelo                    40          414            Hon. Rafael Ongkcko                         73           733
          Hon. Holly C. Kendig                 42          416            Hon. Michelle Williams Court                74           735

          Hon. Mel Red Recana                  45          529            Hon. Robert S. Draper                       78           730

    Given to the Plaintiff/Cross-Complainant/Attorney of Record             SHERRI R. CARTER, Executive Officer/Clerk of Court

    on                                                                      By                     G. RO01111SO?J
                                        -
                                                                                                                    ______-,
                                                                                                                               Deputy Clerk
                  (Da
                            p    2[i18
LACIV 190 (Rev 12/17)           NOTICE OF CASE ASSIGNMENT                 -   UNLIMITED CIVIL CASE
LASC Approved 05/06
        Case 2:19-cv-02220-VAP-KS Document 1-1 Filed 03/25/19 Page 29 of 43 Page ID #:37

                                  INSTRUCTIONS FOR HANDLING. UM1TED CiVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

pkrmrry OvEi: bTimPiiuis
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

    ALLE NG
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing. and proof of service shall be filed within 90 days.

CROSS COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFER.ENcE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shalt have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS.
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shalt be filed at the Stanley Mask Courthouse and are randoftily assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.
.*I) rov.isiona lly Complex Ces
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for detennination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
 randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
 returned to an Independent Calendar Courtroom for all purposes.




 LACIV 190 (Rev 12/17)        NOTICE OF CASE ASSIGNMENT                       -   UNLIMITED CIVIL CASE
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                                VOLUNTARY EFFICIENT LITIGATION STIPULATIONS




 UP
 Superior Court of California
 County ul Los Angeles
                                   The Early Organizational Meeting Stipulation, Discovery
                                Resolution Stipulation, and Motions in Limine Stipulation are
                                voluntary stipulations entered into by the parties. The parties
                                may enter into one, two, or all three of the stipulations;
                                however, they may not alter the stipulations as written,
                                because the Court wants to ensure uniformity of application.
 Los Angeles County
 Bar Association                These stipulations are meant to encourage cooperation
 Litigation Section

 Los Angeles County
                                between the parties and to assist in resolving issues in a
 Bar Association Labor and
 Employment Law Section         manner that promotes economic case resolution and judicial
                                efficiency.

                                   The following organizations endorse the goal of
 Consumer Attorneys
 Association of Los Angeles
                                promoting efficiency in litigation and ask that counsel
                                consider using these stipulations as a voluntary way to
                                promote communications and procedures among counsel
                                and with the court to fairly resolve issues in their cases.

                                *Los Angeles County Bar Association Litigation Section+
 Southern California
 Defense Counsel

                                          + Los Angeles County Bar Association
                                              Labor and Employment Law Section*

 Association of
 Business Trial Lawyers
                                    *Consumer Attorneys Association of Los Angeles*


                                         *Southern California Defense Counsel*


                                         +Association of Business Trial Lawyers*
  ,
  -

 California Employment
 Lawyers Association
                                     *California. Employment Lawyers Association          •
      LAdy 230 (NEV
      LASC Approved 4-11
      For Optional Use
  Case 2:19-cv-02220-VAP-KS Document 1-1 Filed 03/25/19 Page 31 of 43 Page ID #:39



           S OF MTCR.NEY OR P TVWTThOLII ATTORH                               STATE QM NUMBER           R   r d P. CJ.,k*. RI St —p




        TE.LEPHONNQ:                                         EAXNO.(OptianaI}
EMAIL ADDRESS (Opbonai)
  ArrORNEY FOR (Nazno):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE.ADDRESS                        .
                                                                                              .. ....




PLAiNTIFF:..             .                ...                                  -......




                                                                                           ,. ....
OEFEN0ANT. ..                                                           ................


               ..            .    .   .       ..    .             ...



                    STIPULATION                    -    DISCOVERY RESOLUTION

     This stipulation Is intended to provide a fast and informal resolution of discovery issues
     through limited paperwork and an informal confc.rence with the Court to aid in the
     resolution of the issues.

     The parties agree that:

     1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
         the moving party first makes .a. written request for an Informal Discovery Conference pursuant
         to the terms of this stipulation

     2 At the Informal Discovery Conference the Court will consider the dispute presented by parties
        and determine whether it can be resolved informally Nothing set forth herein will preclude a
        party from making a record at the conclusion of an Informal Discovery Conference, either
        Orally or in writing.

     3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
         presented, a party may request an Informal Discovery Conference pursuant to the following
         procedures:*

                a. The party requesting the Informal Discovery Conference will:

                    I.           File a Request for Informal Discovery Conference with the clerk's office on the
                                 approved form (copy attached) and deliver a courtesy, conformed copy to the
                                 assigned department;

                                 Include a brief summary of the dispute and specify the relief requested; and

                                 Serve the opposing party pursuant to any authorized or agreed method of service
                                 that ensures that the opposing party receives the Request for Informal Discovery
                                 Conference no later than the next court day following the filing.

                b. Any Answer to a Request for Informal Discovery Conference must:

                                 Also be filed on the approved form (copy attached);

                                 Include a brief summary of why the requested relief should be denied;
    LACIV 036 (new)
    LASC Approved 04/11                            STIPULATION      -    DISCOVERY RESOLUTION
    For Optional Use
                                                                                                                           Page 1 013
 ShORT TITLE:
                               ..
Case 2:19-cv-02220-VAP-KS Document 1-1 Filed 03/25/19 Page 32 of 43 Page ID #:40


                                                                              I CASE NUMBER.



                       Be filed within two (2) court days of receipt of the Request; and

                       Be served on the opposing party pursuant to any authorized or agreed upon
                       method of service that ensures that the opposing party receives the Answer no
                       later than the next court day following the filing.

                No other pleadings, including but not limited to exhibits, declarations, or attachments, will
                be accepted.

                If the Court has not granted or denied the Request for Informal Discovery Conference
                within ten (10) days following the filing of the Request, then it shall be deemed to have
                been denied. If the Court acts on the Request, the parties will be notified whether the
                Request for Informal Discovery Conference has been granted or denied and, if granted,
                the date and time of the Informal Discovery Conference, which must be within twenty (20)
                days of the filing of the Request for Informal Discovery Conference.

                If the conference is not held within twenty (20) days of the filing of the Request for
                Informal Discovery Conference, unless extended by agreement of the parties and the
                Court, then the Request for the Informal Discovery Conference shall be deemed to have
                been denied at that time.

       If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
       without the Court having acted or (c) the Informal Discovery Conference is concluded without
       resolving the dispute, then a party may file a discovery motion to address unresolved issues.

       The parties hereby further agree that the time for making a motion to compel or other
       discovery motion is tolled from the date of filing of the Request for Informal Discovery
       Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
       filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
       by Order of the Court.

       It is the understanding and intent of the parties: that this stipulation shall, for each discovery
       dispute to which it applies, constitute a writing memorializing a "specific later date to which
       the propounding [or demanding or requesting] party and the responding party have agreed in
       writing," Within the m.eriirtg Of Code Civil Procedué sections 2030.300(c), 2031.320(c), and
       2033.290(c).

        Nothing herein will preclude any party from applying ex parte for appropriate relief, including
        an order shortening time for a motion to be heard concerning discovery.

        Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
        terminate the stipulation.

        References to "days" mean calendar days, unless otherwise noted. If the date for performing
        any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
        for performing that act shal' be extended to the next Court day.



 LACIV 036 (new)
 LASC Approved 04/11              STIPULATION      -   DISCOVERY RESOLUTION
 For Optional Use                                                                                    Page 2 of 3
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  SNORT flttE                                                                            CASE NUMBER:




  The following parties stipulate:

  Date:
                (TYPEOR P RINT NAME)                                    '              (ATTORNEYFOR'PL.AtNTIFF)
  Date:
                                                                >
                (TYPE OR PRINT NAME)     '            "                               (ATTORNEY FOR DEFENDANT)
  Date:'
                                                                >
                (TYPE OR-PRINT NAME)     "'       "   '                               '(ATTORNEY FOR DEFENDANT)
  Date:

                (TYPE OR PRINT NAME)              """               "       "'   ""   '(AlTORNEYFOR DEFENDANT)
  Date:
                        OR PRINT NAME)                                       (ATTORNEY FOR
  Date:
                (TYPE OR PRINT NAME)                                '        (ATTORNEY FOR
  Date:
                (TYPE OR PRINT NAME)          '                     '        (ATTORNEY FOR                          '




  LAdy 036 (new)
  LASC Approved 04/I1            STIPULATION          -   DISCOVERY RESOLUTION
  For Optional Use                                                                                                Page 3 of 3
  Case 2:19-cv-02220-VAP-KS Document 1-1 Filed 03/25/19 Page 34 of 43 Page ID #:42




NAME AND ACORESS O A1TORNSY OR pmTy WIThoUT ATTORNEY                STATE BAR NUMBER                      RescNad for Clerk's I'de S1mp




          TEPlIONE NO.:
F-MAIl. A0DRESS(OpJoni);
    :A.fl-ORNE.yFOR(Nam)..                    . .



SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COUPJHOUSE.ADDRESS:

PLAINTIFF:                     .




DEFENDANT:

                 .         .   .   ...                 ..                              ..
                                                                                            "'   CASE NUMBER:
           STIPULATION                   —   EARLY ORGANIZATIONAL MEETING

      This stipulation Is Intended to encourage cooperation among the parties at an early stage In
      the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

      1. The parties commit to conduct an initial conference (in-person or via teleconference or via
          videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
          whether there can be agreement on the following:

                 Are motions to challenge the pleadings necessary? If the issue can be resolved by
                 amendment as of right, or if the Court would allow leave to amend, could an amended
                 complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                 agree to work through pleading issues so that a demurrer need only raise issues they cannot
                 resolve. is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                 would some other type of motion be preferable? Could a voluntary targeted exchange of
                 documents or information by any party cure an uncertainty in the pleadings?

                 Initial 'mutual exchanges, of o.áurnènts at the "core' of the litigation. (For example, in an
                 employment., case, the employment records personnel file and documents relating to the
                 conduct in question could be considered "core" In a personal injury case an incident or
                 police report, medical records, and repair or maintenance records could be considered
                 "core.");

                 Exchange of names and contact information of witnesses;

                 Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                 indemnify or reimburse for payments made to satisfy a judgment;

                 Exchange of any other information that might be helpful to facilitate understanding, handling,
                 or resolution of the case in a manner that preserves objections or privileges by agreement;

                  Controlling issues, of law that, if resolved early, will promote efficiency and economy in other
                  phases of the.case. Also, when and how such issues can be presented to the Court;

                  Whether or when the case. should be scheduled with a settlement officer, what discovery or
                  court"ruling on legal issues is reasonably required to make settlement discussions meaningful,
                  and whether the parties wish to use a sitting judge or a private mediator or other options as
       LACIV 229 (Rev 02/15)
      LASC Approved 04/11                STIPULATION        —   EARLY ORGANIZATIONAL MEETING
       For Optional Use                                                                                                          Page 1 of 2
Case 2:19-cv-02220-VAP-KS Document 1-1 Filed 03/25/19 Page 35 of 43 Page ID #:43


I   SNORT flTLE                                                                    I CASE NUMBER.



                  discussed in the'Alternative Dispute Resolution (ADR) Information Package" served with the
                  complaint;

                  Computation of damages, including documents, not privileged or protected from disclosure, on
                  which such computation is based;

                  Whether the case is suitable for the Expedited Jury Trial procedures (see information at
                  www lacourt orq under Civil and then under General Information)

    2             The time for a defending party to respond to a complaint or cross-complaint will be extended
                  to                         for the complaint, and.                            for the cross-
                           (INSERT DATE)                                       (INSERT DATE)
                  complaint, which is comprised of the 30 days to respond under Government jQode § 68616(b)
                  and the 30 days permitted y Code of Civil Procedure section 1054(6), good cause having
                  been found by the Civil Supervising Judge due to the case management benefits provided by
                  this Stipulation A copy of the General Order can be found at www lacourt orq under Civil',
                  ctickon "General Information", then clikon: Voluntary Efficient LitigàtionStipulalions'.

    191           The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
                  and Early Organizational Meeting Stipulation, and if desired, a proposed order summariz ng
                  results of their meet and confer and advising the Court of any way it may assist the parties'
                  efficient conduct or resolution of the case The parties shall attach the Joint Status Report to
                  the Case Management Conference statement, and file the documents when the CMC
                  statement is due.

    4             References to "days" mean calendar days, unless otherwise noted. If the date for performing
                  any act pursuant to this stipulation falls on a Saturday Sunday or Court holiday,then the time-
                  for performing that act shall be extended to the next Court day

    The following parties stipulate:
    Date:


                     (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
    Date:


                     (.TYPE. OR PRINT NAME)                                    (ATTORNEY FOR DEFENDANT)
    Date:


                     (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
    Date:


                     (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
    Date:


                     (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
    Date:


                     (TYPE' OR PRINT NAME)                                (ATTORNEY FOR
    Date:
                                                                    >
                     (TYPE OR PRINT NAME)                                 (ATTORNEY FOR


    IACIV 229 (Rev 02/15)
    IASC Approved 04/11          STIPULATION      -   EARLY ORGANIZATIONAL MEETING                         Page 2 of 2
  Case 2:19-cv-02220-VAP-KS Document 1-1 Filed 03/25/19 Page 36 of 43 Page ID #:44




                                                                        STATE BAR NUMBER                                 R...rd fo Ctk. FU. SI.rp




E MAIL ADDRESS (OpUonI)
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SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
curnouSgAoDRESS:                                      .     .




                .   .                            ... ....       .....           .      .....   .......   .




DEFENDANT:


     ...,.           INFORMAL DISCOVERYCONFERENCE
               (pursuant.to,theDiscovery_Resolution _Stipulation _of the _parties)
                                                                            .




             This document relates to:
                    El      Request for Informal Discovery Conference
                    0       Answer to Request for Informal Discovery Conference
             Deadline for Court to decide on Request:                                               (Insert date 10 calendar days following filing of
             the Request).
             Deadline for Court to hold Informal Discovery Conference:                                                      (insert date 20 calendar
             days following filing of the Request).
             For a Request for Informal Discovery Conference, briefly describe the nature of the
             discovery dispute, including the facts and legal arguments at issue. For an Answer to
             Request for. Informal Discovery Conference, briefly describe why the Court should deny
             the requested discovery, Including the facts and legal arguments at issue




     lAdy 094 (new)
     LASC Approved 04/11
                                             INFORMAL DISCOVERY CONFERENCE
     For Optional Use                  (pursuant to the Discovery Resolution Stipulation of the parties)
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NAME      ansao ATE0RPAATy.MmogArroR,4Ey:                    STATE RA NUMEER   -            Ro.or,d Io,CI..k.   I'll. SI,np




         TECEPIONENb.-                      FAX 0
 C MAIL AOORESS (Opbal)
            FOR (Planhe);'                            -..-           ..


SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COYROU          DRESS:

FLAINTIM

DEFENDANT


                                                                                   CASE NUMBER:
            STIPULATION AND ORDER           —       MOTIONS IN LIMINE


       This stipulation is intended to provide fast and informal resolution of evidentiary
       issues through diligent efforts to define and discuss such issues and limit paperwork.


       The parties agree that:

       1. At least       days before the final status conference, each party will provide all other
                      ____


          parties with a list containing a one paragraph explanation of each proposed motion in
          limine. Each one paragraph explanation 'mustidentify the substance of a single proposed
          motion in limine and the grounds for the proposed motion.

       2. The parties thereafter will meet and confer, either in person or via teleconference or
          videoconference, concerning all proposed motions in limine. In that meet and confer, the
          parties will determine:

               Whether the parties can stipulate to any of the proposed motions. If the parties so
               stipulate, they may file a stipulation and proposed order with the Court.

               Whether any of the proposed motions can be briefed and submitted by means of a
               short joint statement of issues For each motion which can be addressed by a short
               joint statement of issues, a short joint statement of issues must be filed with the Court
               10 days prior to the final status conference. Each side's portion of the short joint
               statement of issues may not.excee.d three pages. The parties will meet and confer to
               agree an a date and manner for exchanging the parties' respective portions of the
               short joint statement of issues and the process for filing the short joint statement of
               issues.

       3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
           a short joint statement of issues will be briefed and filed in accordance with the California
          Rules of Court and the Los Angeles Superior Court Rules.



       LACIV 075 (new)                          -

       LASC Approved 04/11    STIPULATION AND ORDER—MOTIONS IN LIMINE
       For Optional Use                                                                                           Page 1 of 2
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 •
                                 .,.,.,...           "..   .   '       .

     SHORT TITLE:                                      .                                     CASENUMBER




                                                                                                                         1




     The following parties stipulate:

     Date:

                    (TYPE OR PRINT NAME)"                                      '        (ATTORNEY FOR PLAINTIFF)
 Date:
                                                                   >
                    (TYPE OR PRINT NAME)''                                             (ATTORNEY FOR"DEFENDANT)
     Date:

                    (TYPE OR PRINT NAME)                                               (ATTORNEY FOR DEFENDANT)
 Date:

                    (TYPEOR PRINT NAME)      .                             .
                                                                                       .(ATTORNEY FOR DEFENDANT)
     Date:

                    (TYPE OR' PRINT NAME)                                          {ATF.ORNEYFOR
 Date:


                    (TYPE OR PRINT NAME)     "                                     (ATTORNEY'FOR
 Date:

                    (TYPE OR PRINT NAME)         '                                 (ATTORNEY FOR.-



     THE COURT SO ORDERS.

       Date:
                                                                                             JUDICIAL OFFICER




 LACIV 075 (new)
 LASC Approved 04/11          STIPULATION AND ORDER                    MOTIONS IN LIMINE
                                                                   -
                                                                                                                Page 2 of 2
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                          Superior Court of California
                            County of Los Angeles




              ALTERNATIVE DISPUTE RESOLUTION (ADR)
                     INFORMATION PACKET


               The person who files a civil lawsuit (plaintiff) must include the ADR information
               Packet with the complaint when serving the defendant. Cross-complainants must
               serve the ADR Information Packet on any new parties named to the action
               together with the cross-complaint.

               There are a number of ways to resolve civil disputes without having to sue
               someone. These alternatives to a lawsuit are known as alternative dispute
               resolution (ADR).

               In ADR, trained, impartial persons decide disputes or help parties decide disputes
               themselves. These persons are called neutrals. For example, in mediations, the
               neutral is the mediator. Neutrals normally are chosen by the disputing parties or by
               the court. Neutrals can help resolve disputes without having to go to court.




LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221
   Case 2:19-cv-02220-VAP-KS Document 1-1 Filed 03/25/19 Page 40 of 43 Page ID #:48




Advantages of ADR
   • Often faster than going to trial
   0  Often less expensive, saving the litigants court costs, attorney's fees and expert fees.
   ' May permit more participation, allowing parties to have more control over the outcome.
   • Allows for flexibility in choice of ADR processes and resolution of the dispute.
   e   Fosters cooperation by allowing parties to work together with the neutral to resolve the dispute and
       mutually agree to remedy.
      There are fewer, if any, court appearances. Because ADR can be faster and save money, it can reduce
      stress.

Disadvantages of ADR ADR may not be suitable for every dispute.
                         -



   a.   If ADR is binding, the parties normally give up most court protections, including a decision by a judge or
        jury under formal rules of evidence and procedure, and review for legal error by an appellate court.
   •.' ADR may not be effective if it takes place before the parties have sufficient information to resolve the
        dispute.
   :& The neutral may charge a fee for his or her services.
        If the dispute is not resolved through ADR, the parties may then have to face the usual and traditional
        costs of trial, such as attorney's fees and expert fees.



The Most Common Types of ADR

   '.   Mediation

        In mediation, a neutral (the mediator) assists the parties in reaching a mutually acceptable resolution
        of their dispute. Unlike lawsuits or some other types of ADR, the parties, rather than the mediator,
        decide how the dispute is to be resolved.

            •   Mediation is particularly effective when the parties have a continuing relationship, like
                neighbors or business people. Mediation is also very effective where personal feelings are
                getting in the way of a resolution. This is because mediation normally gives the parties a chance
                to express their feelings and find out how the other sees things.

                Mediation may not be effective when one party is unwilling to cooperate or compromise or
                when one of the parties has a significant advantage in power over the other. Therefore, it may
                not be a good choice if the parties have a history of abuse or victimization.




LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221

                                                     Page 2 014
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             a.   Arbitration

                  In arbitration, a'neutral person called an "arbitrator" hears arguments and evidence from each
                  side and then decides the outcome of the dispute. Arbitration is typically less formal than a
                  trial, and the rules of evidence may be relaxed. Arbitration may be either "binding" or "non-
                  binding." Binding arbitration means the parties waive their right to a trial and agree to accept
                  the arbitrator's decision as final. Non-binding arbitration means that the parties are free to
                  request a trial if they reject the arbitrator's decision.

                  Arbitration is best for cases where the parties want another person to decide the outcome of
                  their dispute for them but would like to avoid the formality, time, and expense of a trial. It may
                  also be appropriate for complex matters where the parties want a decision-maker who has
                  training or experience in the subject matter of the dispute.



             I:   Mandatory Settlement Conference (MSC)

                  Settlement Conferences are appropriate in any case where settlement is an option.
                  Mandatory Settlement Conferences are ordered by the Cowt and are dften held near the date
                  a case is set for trial. The parties and their attorneys meet with a judge who devotes his or her
                  time exclusively to preside over the MSC. The judge does not make a decision in the case but
                  assists the parties in evaluating the strengths and weaknesses of the case and in negotiating a
                  settlement.

                  The Los Angeles Superior Court Mandatory Settlement Conference (MSC) program is free of
                  charge and staffed by experienced sitting civil judges who devote their time exclusively to
                  presiding over MSCs. The judges participating in the judicial MSC program and their locations
                  are identified in the List of Settlement Officers found on the Los Angeles Superior Court website
                  at http://w.wwlacour:org/ This program is available in general jurisdiction cases with
                  represented parties from independent calendar (IC) and Central Civil West (CCW) courtrooms.
                  In addition, on an ad hoc basis, personal injury cases may be referred to the program on the
                  eve of trial by the personal injury master calendar courts in the Stanley Mosk Courthouse or the
                  asbestos calendar court in CCW.

                  In order to access the Los Angeles Superior Court MSC Program the judge in the IC courtroom,
                  the CCW Courtroom or the personal injury master calendar courtroom must refer the parties to
                  the program. Further, all parties must complete the information requested in the Settlement
                  Conference Intake Form and email the completed form to mscdeptlR@lacourt.org.




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LASC Adopted 10-03
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Additional Information


To locate a dispute resolution program or neutral in your community:


    ,   Contact the California Department of Consumer Affairs (w.wwdcca.gov) Consumer Information
        Center toll free at 800-952-5210, or;
        Contact the local bar association (http://www.lacba.org/) or;
   !,   Look in a telephone directory or search online for "mediators; or "arbitrators."

There may be a charge for services provided by private arbitrators and mediators.



A list of approved State Bar Approved Mandatory Fee Arbitration programs is available at
http J/calbar ca gov/Attorneys/MemberServjces/FeeArbitration/Approvedprograms aspx#19



To request information about, or assistance with, dispute resolution, call the number listed below. Or you may
call a Contract Provider agency directly. A list of current Contract Provider agencies in Los Angeles County is
available at the link below.

http f/css lacou nty gov/programs/dispute-resolution-program-drp/




                                  County of Los Angeles Dispute Resolution Program
                                           3175 West 6th Street, Room 406
                                             Los Angeles, CA 90020-1798
                                                 TEL: (213) 738-2621
                                                 FAX: (213) 386-3995




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